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March 1, 2018


VIA ECF

The Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square, Courtroom 619
New York, NY 10007

Re:     In re SSA Bonds Antitrust Litigation, No. 1:16 cv 03711 (ER)

Dear Judge Ramos:

        We write as Co-Lead Interim Class Counsel to respectfully submit the attached
stipulation dismissing without prejudice Defendant TD Securities Limited. This stipulation is
the result of negotiations referenced in Plaintiffs’ memorandum in opposition to various
Defendants’ motions to dismiss for lack of personal jurisdiction and venue. See Dkt. 425 at
21. It was submitted to the Clerk concurrently with the filing of this letter.

Respectfully submitted,


/s/ David W. Mitchell                                   /s/ Daniel L. Brockett
David W. Mitchell                                       Daniel L. Brockett

ROBBINS GELLER RUDMAN &                                 QUINN EMANUEL URQUHART &
 DOWD LLP                                                SULLIVAN, LLP

Cc: All counsel of record




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